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                  IN IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF TEXAS
                               WACO DIVISION

WSOU INVESTMENTS, LLC D/B/A         §    CIVIL ACTION 6:20-cv-00454-ADA
BRAZOS LICENSING AND                §    CIVIL ACTION 6:20-cv-00455-ADA
DEVELOPMENT,                        §    CIVIL ACTION 6:20-cv-00456-ADA
          Plaintiff,                §    CIVIL ACTION 6:20-cv-00457-ADA
                                    §    CIVIL ACTION 6:20-cv-00458-ADA
                                    §    CIVIL ACTION 6:20-cv-00459-ADA
                                    §    CIVIL ACTION 6:20-cv-00460-ADA
                                    §    CIVIL ACTION 6:20-cv-00461-ADA
v.                                  §    CIVIL ACTION 6:20-cv-00462-ADA
                                    §    CIVIL ACTION 6:20-cv-00463-ADA
                                    §    CIVIL ACTION 6:20-cv-00464-ADA
MICROSOFT CORPORATION,              §    CIVIL ACTION 6:20-cv-00465-ADA
         Defendant.                 §

                      FIRST AMENDED SCHEDULING ORDER
 Date                            Item
 September 18, 2020              Case Management Conference

 October 2, 2020                 Deadline for Motions to Transfer
 (2 weeks after the CMC)
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    Date                                             Item
    November 6, 2020                                 Defendant serves preliminary 1 invalidity contentions
    (7 weeks after the CMC)                          in the form of (1) a chart setting forth where in the
                                                     prior art references each element of the asserted
                                                     claim(s) are found, (2) an identification of any
                                                     limitations the Defendant contends are indefinite or
                                                     lack written description under section 112, and (3) an
                                                     identification of any claims the Defendant contends
                                                     are directed to ineligible subject matter under section
                                                     101. Defendant shall also produce (1) all prior art
                                                     referenced in the invalidity contentions, (2) technical
                                                     documents, including software where applicable,
                                                     sufficient to show the operation of the accused
                                                     product(s), and (3) summary, annual sales
                                                     information for the accused product(s) for the two
                                                     years preceding the filing of the Complaint, unless
                                                     the parties agree to some other timeframe.
    November 20, 2020                                Parties exchange claim terms for construction.
    (9 weeks after the CMC)
    December 4, 2020                                 Parties exchange proposed claim
    (11 weeks after the CMC)                         constructions.

    December 11, 2020                                Parties disclose extrinsic evidence. The parties shall
    (12 weeks after the CMC)                         disclose any extrinsic evidence, including the identity
                                                     of any expert witness they may rely upon in their
                                                     opening brief with respect to claim construction or
                                                     indefiniteness. With respect to any expert identified,
                                                     the parties shall identify the scope of the topics for
                                                     the witness’s expected testimony. 2 With respect to
                                                     items of extrinsic evidence, the parties shall identify
                                                     each such item by production number or produce a
                                                     copy of any such item if not previously produced.
    December 18, 2020                                Deadline to meet and confer to narrow terms in
    (13 weeks after the CMC)                         dispute and exchange revised list of
                                                     terms/constructions.


1
  The parties may amend preliminary infringement contentions and preliminary invalidity contentions without leave
of court so long as counsel certifies that it undertook reasonable efforts to prepare its preliminary contentions and the
amendment is based on material identified after those preliminary contentions were served, and should do so
seasonably upon identifying any such material. Any amendment to add patent claims requires leave of court so that
the Court can address any scheduling issues.
2
  Any party may utilize a rebuttal expert in response to a brief where expert testimony is relied upon by the other
party
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    Date                                             Item
    January 8, 2021                                  Plaintiff files Opening claim construction brief,
    (14 weeks)                                       including any arguments that any claim terms are
                                                     indefinite.
    January 29, 2021                                 Defendant file Responsive claim construction
    (17 weeks)                                       brief.
    February 11, 2021                                Plaintiff files Reply claim construction brief.
    (19 weeks)
    February 24, 2021                                Defendant files a Sur-Reply claim construction brief
    (21 weeks)
    February 25, 2021                                Parties submit optional technical tutorials to the
    22 weeks (but at least 1 week before             Court and technical adviser (if appointed). 3
    Markman Hearing)
    February 25, 2021                                Parties submit Joint Claim Construction
    3 business days after submission of sur-         Statement and provide copies of briefs to the
    reply                                            Court.
    March 4 – 5, 2021                                Markman hearing at 9:00 a.m.

    March 8, 2021                                    Fact Discovery opens; deadline to serve Initial
    (1 business day after Markman                    Disclosures per Rule 26(a).
    hearing)
    April 16, 2021                                   Deadline to add parties.
    (6 weeks after Markman)
    April 30, 2021                                   Deadline to serve Final Infringement and Invalidity
    (8 weeks after Markman)                          Contentions. After this date, leave of Court is
                                                     required for any amendment to Infringement o
                                                     Invalidity contentions. This deadline does not relieve
                                                     the Parties of their obligation to seasonably amend if
                                                     new information is identified after initial contentions.
    June 24, 2021                                    Deadline to amend pleadings. A motion is not
    (16 weeks after Markman)                         required unless the amendment adds patents or patent
                                                     claims. (Note: This includes amendments in response
                                                     to a 12(c) motion.)




3
 The parties should contact the law clerk to request a Box link so that the party can directly upload the file to the
Court’s Box account.
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Date                            Item
September 2, 2021               Deadline for the first of two meet and confers to
(26 weeks after Markman)        discuss significantly narrowing the number of claims
                                asserted and prior art references at issue. Unless the
                                parties agree to the narrowing, they are ordered to
                                contact the Court’s Law Clerk to arrange a
                                teleconference with the Court to resolve the disputed
                                issues.

September 30, 2021              Close of Fact Discovery.
(30 weeks after Markman)
October 7, 2021                 Opening Expert Reports.
(31 weeks after Markman)
November 4, 2021                Rebuttal Expert Reports.
(35 weeks after Markman)
December 2, 2021                Close of Expert Discovery.
(38 weeks after Markman)
December 9, 2021                Deadline for the second of two meet and confers to
(39 weeks after Markman)        discuss narrowing the number of claims asserted
                                and prior art references at issue to triable limits. To
                                the extent it helps the parties determine these limits,
                                the parties are encouraged to contact the Court’s
                                Law Clerk for an estimate of the amount of trial
                                time anticipated per side. The parties shall file a
December 16, 2021               Dispositive motion deadline and Daubert
(40 weeks after Markman)        motion deadline.

                                See General Issues Note #8 regarding providing
                                copies of the briefing to the Court and the technical
                                adviser (if appointed).

December 30, 2021               Serve Pretrial Disclosures (jury instructions, exhibit
(42 weeks after Markman)        lists, witness lists, discovery and deposition
                                designations).

January 13, 2022                Serve objections to pretrial
(44 weeks after Markman)        disclosures/rebuttal disclosures.

January 20, 2022                Serve objections to rebuttal disclosures and file
(45 weeks after Markman)        motions in limine.
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    Date                                           Item
    January 27, 2022                               File Joint Pretrial Order and Pretrial Submissions
    (46 weeks after Markman)                       (jury instructions, exhibit lists, witness lists,
                                                   discovery and deposition designations); file
                                                   oppositions to motions in limine.


    February 3, 2022                               File Notice of Request for Daily Transcript or Real
    (47 weeks after Markman)                       Time Reporting. If a daily transcript or real time
                                                   reporting of court proceedings is requested for trial,
                                                   the party or parties making said request shall file a
                                                   notice with the Court and e-mail the Court Reporter,
                                                   Kristie Davis at kmdaviscsr@yahoo.com.

                                                   Deadline to meet and confer regarding remaining
                                                   objections and disputes on motions in limine.



    February 14, 2022                              File joint notice identifying remaining objections to
    (3 business days before Final                  pretrial disclosures and disputes on motion in limine.
    Pretrial Conference)

    February 17, 2022                              Final Pretrial Conference. The Court expects to set
    (49 weeks after Markman)                       this date at the conclusion of the Markman Hearing.

    March 3, 2022                                  Jury Selection/Trial. The Court expects to set this
    (52 weeks after Markman) 4                     date at the conclusion of the Markman Hearing.




             23rd day of ______________,
SIGNED this _____           November     2020


                                                             ____________________________________
                                                             ALAN D ALBRIGHT
                                                             UNITED STATES DISTRICT JUDGE



4
  If the actual trial date materially differs from the Court’s default schedule, the Court will consider reasonable
amendments to the case schedule post-Markman that are consistent with the Court’s default deadlines in light of the
actual trial date
